                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


KAWS, INC.,

        Plaintiff,

  v.                                                   Case No.: 23-cv-03134

THE INDIVIDUALS, CORPORATIONS,                       The temporary restraining order, issued April 14,
LIMITED LIABILITY COMPANIES,
                                                     2023, shall no longer restrain and enjoin the
PARTNERSHIPS, AND UNINCORPORATED
                                                     Defendants listed below. So Ordered.
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A TO THE COMPLAINT,
                                                     The Clerk of Court is respectfully directed to
        Defendants.                                  terminate only the parties listed below as
                                                     Defendants.

                                                     Dated: April 26, 2023
                                                            New York, New York


                      PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL OF
                                   CERTAIN DEFENDANTS

       TO THE COURT AND ALL INTERESTED PARTIES:

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(i), Plaintiff

KAWS, Inc., voluntarily dismisses the following Defendants listed on Schedule A to the

Complaint without prejudice:

Doe
           Defendant Seller    Defendant Online Marketplace
No.
56.        auparadisdujouet    https://www.ebay.com/usr/auparadisdujouet
62.        gsb_31              https://www.ebay.com/usr/gsb_31
65.        huflor56            https://www.ebay.com/usr/huflor56
67.        jorgealfonso21      https://www.ebay.com/usr/jorgealfonso21
69.        justdesign          https://www.ebay.com/usr/justdesign
84.        sheeaneo3           https://www.ebay.com/usr/sheeaneo3
88.        tanpoo0             https://www.ebay.com/usr/tanpoo0
89.        vintage_company     https://www.ebay.com/usr/vintage_company
Dated: April 24, 2023         Respectfully submitted,


                        By:   /s/ Anna Iskikian
                              Anna Iskikian
                              THOITS LAW
                              A Professional Corporation
                              400 Main Street, Suite 250
                              Los Altos, California 94022
                              (650) 327-4200
                              aiskikian@thoits.com




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